            Case 1:18-bk-10071         Doc 54 Filed 05/16/18 Entered 05/16/18 09:36:39                    Desc Order
                                            Gr App to Employ Page 1 of 1
                                           UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF RHODE ISLAND

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        In Re: David W. Wagner                        BK No. 1:18−bk−10071
           Debtor(s)                                 Chapter 7

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                              ORDER GRANTING (doc# 45 ) TO EMPLOY PROFESSIONALS
          Re: Application to Employ Peter J. Furness, Esq. and Richardson, Harrington & Furness, Inc. as Counsel to
                                                          the Trustee
        The Application to Employ Professionals (doc.# 45 ) is HEREBY APPROVED, subject to the following: (1) This
        order is not a determination that the services are necessary; and (2) No fee agreement between the applicant and the
        person or entity being employed is binding on the court.

        With the exception of applications to employ filed pursuant to 2014(e), any agreement for compensation between
        the Professional seeking employment and the Trustee, if applicable, shall not be binding on the Court, and to the
        extent that anything contained in the application deemed a request to pre−approve compensation is DENIED.
        Compensation of Professionals will be determined by the Court upon the filing of an appropriate fee application.


                                                     So Ordered:




                                                     Date: 5/16/18
          Entered on Docket: 5/16/18
          Document Number: 54 − 45
        Oappemployprof.jsp #103




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